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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF KENTUCKY
                                  NORTHERN DIVISION
                                       ASHLAND

CRIMINAL ACTION NO. 0:10-2-DLB-EBA-2


UNITED STATES OF AMERICA,                                                                PLAINTIFF,


V.                               MAGISTRATE JUDGE’S
                             REPORT AND RECOMMENDATION

JAMES JEROME SMITH,                                                                   DEFENDANT.

                                        ***** ***** *****

       This matter came before the Court for a final revocation hearing on October 22, 2015, based

upon alleged violations of the terms of supervised release as set out in the reports of June 6, 2014,

and an Addendum dated October 6, 2015. The reports outline various violations of the Defendant

James Jerome Smith’s Supervised Release. At his final hearing, Smith was present and represented

by appointed counsel, Sebastian M. Joy, and the United States was represented by and through

Assistant United States Attorney Ron Walker. During the hearing, Smith stipulated to all violations

as outlined in the reports, waived his right of allocution before a United States District Judge and

exercised his right of allocution before the undersigned. The United States recommended that the

Court impose a term of incarceration of thirty-six (36) months of incarceration with no supervised

release to follow, while the Defendant requested a term of incarceration of thirty (30) to thirty-three

(33) months with no supervised release to follow.

       For the reasons that follow, the undersigned finds Defendant guilty of the violations outlined

in the reports, and recommends that the Court impose a sentence of thirty-three (33) months

incarceration, with no supervised release to follow.
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                                      FINDINGS OF FACT

       The Defendant stated that all facts contained within the Violation report of June 6, 2014, and

the addendum of October 6, 2015, were true. Specifically, Smith informed the court that, as alleged,

he illegally sold five (5) oxycodone 30 milligram tablets on May 14, 2014, sold approximately two-

tenths of a gram of heroin on May 21, 2014, and another three-tenths of a gram of heroin on May

22, 2014, and also associated with individuals engaged in criminal activity on each of the above-

mentioned dates. As a result of his admitted conduct, the Court finds by a preponderance of the

evidence that Smith has violated the following conditions of supervised release:

       FROM THE VIOLATION REPORT OF JUNE 6, 2014:

       (1) Violation No. 1: Standard Condition #7: The Defendant failed to refrain from excessive

use of alcohol and failed to refrain from the purchase, possession, use, distribution or administration

of any controlled substance or any paraphernalia related to any controlled substance, except as

prescribed by a physician (Grade C Violation), based upon his conduct on May 14, 2014;

       (2) Violation No. 2: Supervised Release Condition: The Defendant committed another

federal, state, or local crime (Grade A Violation), based upon his conduct on May 14, 2014;

       (3) Violation No. 3: Standard Condition #7: The Defendant failed to refrain from excessive

use of alcohol and failed to refrain from the purchase, possession, use, distribution or administration

of any controlled substance or any paraphernalia related to any controlled substance, except as

prescribed by a physician (Grade C Violation), based upon his conduct on May 21, 2014;

       (4) Violation No. 4: Supervised Release Condition: The Defendant committed another

federal, state, or local crime (Grade A Violation), based upon his conduct on May 21, 2014;

       (5) Violation No. 5: Standard Condition #7: The Defendant failed to refrain from excessive

use of alcohol and failed to refrain from the purchase, possession, use, distribution or administration
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of any controlled substance or any paraphernalia related to any controlled substance, except as

prescribed by a physician (Grade C Violation), based upon his conduct on May 22, 2014;

       (6) Violation No. 6: Supervised Release Condition: The Defendant committed another

federal, state, or local crime (Grade A Violation), based upon his conduct on May 22, 2014;

       (7) Violation No. 7: Standard Condition #9: The Defendant failed to refrain from association

with persons engaged in criminal activity and association with any person convicted of a felony,

unless granted permission to do so by the probation officer (Grade C Violation), based upon his

conduct on May 14, 2014, May 21, 2014, and May 22, 2014.

       FROM THE ADDENDUM OF OCTOBER 6, 2015:

       (1) Violation No. 1: Supervised Release Condition: The Defendant committed another

federal, state, or local crime. (Grade A Violation, stemming from Smith’s November 7, 2014, guilty

plea to Trafficking in a Controlled Substance First Degree Second or Greater Offense Drug

Unspecified Less than ten (10) dosage units and Trafficking in a Controlled Substance First Degree

Second or Greater Offense less than two (2) grams heroin, in case 14-CR-169).

                                          ANALYSIS

       In making a recommendation regarding the imposition of sentence, the undersigned has

considered the following factors set forth in 18 U.S.C. § 3553:

       (I) The History and Characteristics of the Defendant, and the nature and circumstances

of the offense. On August 2, 2010, the Defendant was sentenced to forty-two (42) months

imprisonment, to be followed by a three-year term of supervised release, after pleading guilty to

Distribution of a Schedule II Controlled Substance (Oxycodone) and Aiding and Abetting in the

Same, in violation of Title 21 U.S.C. § 841(a)(1) and 18:2. On February 12, 2012, he began his term

of supervision through the Probation Office in Ashland, KY.
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       The conduct leading to the current supervised release violations began in May of 2014, when

the Boyd County Sheriff’s Department captured audio recordings of a series of undercover

transactions during which the Defendant was engaged in selling five oxycodone pills on May 14,

and a combined half-gram of heroin the following week, on May 21 and May 22. Notably, it was

also previously reported to the undersigned that Smith had admitted to using cocaine the previous

year, on July 12, 2013, but was permitted to continue on supervision at the time provided he receive

increased substance abuse treatment. Though Smith has sporadically attended substance abuse

counseling at Pathways and maintained employment, the aforementioned violations from 2013 and

2014 indicate a continuing problematic pattern of involvement in drug use and trafficking.

       At Defendant’s final revocation hearing before the undersigned on October 22, 2015, the

United States requested a term of incarceration of thirty-six (36) months, three months above the

statutory minimum. The government’s closing argument articulated a number of grounds justifying

the additional time requested: 1) Defendant’s violations constitute sales of drugs considered

particularly threatening to the Eastern District of Kentucky – namely, Oxycodone pills and heroin

– which are frequently considered the district’s drugs of choice; 2) his significant criminal history,

as indicated by his Category VI status; 3) the deterrence of both the Defendant and his surrounding

community; 4) the lack of respect inherent in Defendant’s repeated disregard for the law and the

multiple chances Probation has given him to change; and 5) the insufficient degree of punishment

Defendant has previously received at the state court level for his legal wrongs. In requesting the

statutory minimum of thirty-three (33) months’ incarceration for Defendant, defense counsel’s

closing argument sought to elicit the Court’s leniency based upon the fact that Defendant is a young,

thirty-three year old man with six kids who need him, and a man ready to accept responsibility for

his past actions, move on and find a more meaningful life on the right side of the law.
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       (II) The need for the sentence to reflect the seriousness of the offense; to promote

respect for the law; to provide just punishment for the offense; to afford adequate deterrence

to future conduct; and to protect the public from further crimes of the Defendant. The

Defendant has a criminal history category of Category VI. In making a recommendation in this

matter, the Court is cognizant of the fact that, while admitting to the violations and remaining

generally cooperative at his revocation hearings, Defendant’s repeated pattern of conduct is

worrisome and his criminal history is significant. It follows that the recommended sentence needs

to be severe enough to deter future violations, provide protection for the public, and simultaneously

promote respect for the law.

       (III) The sentencing guideline recommendation for imprisonment and statutory

limitations. In the instant matter, the most serious of the violations committed by the Defendant

is a Grade A violation, and the original offense is a Class B felony. Under § 7B1.1, based on the

Defendant’s criminal history category of VI, the guideline range of imprisonment would be thirty-

three (33) to forty-one (41) months, but because the maximum period of incarceration should

supervision be revoked cannot exceed three (3) years pursuant to 18 U.S.C. 3583(e)(3), Defendant’s

guideline range of imprisonment is thirty-three (33) to thirty-six (36) months.

                                     RECOMMENDATION

       The undersigned finds the difference between the thirty-six (36) months’ imprisonment

requested by the government and the statutory minimum of thirty-three (33) months to be relatively

minor, and based upon the Defendant’s admissions and demonstrated willingness to serve the time

he deserves to serve and then move forward, this Court feels a thirty-three (33) month sentence will

accomplish the United States’ goals of discipline and deterrence, while also rewarding the

Defendant’s forthcomingness and encouraging him to continue to improve his circumstances by
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obeying the law.

       The undersigned in making a recommendation, has considered the facts set out above in

accordance with controlling law, the Defendant’s past and continuing criminal conduct, the serious

nature of the instant violations, and the parties’ recommendation regarding the appropriate length

of the Defendant’s sentence.

       For the reasons stated herein, IT IS RECOMMENDED AS FOLLOWS:

       (1)     That the Defendant be found to have committed the violations listed above, based

upon his testimony, and stipulation; and

       (2)     That the Defendant’s supervised release be REVOKED, and he be sentenced without

delay to thirty-three (33) months incarceration, with no supervised release to follow.

       Specific objections to this Report and Recommendation must be filed within fourteen (14)

days from the date of service thereof or further appeal is waived. United States v. Campbell, 261

F.3d 628, 632 (6th Cir. 2001); Bituminous Cas. Corp. v. Combs Contracting Inc., 236 F. Supp. 2d

737, 749-750 (E.D. Ky. 2002). General objections or objections that require a judge’s interpretation

are insufficient to preserve the right to appeal. Cowherd v. Million, 380 F.3d 909, 912 (6th Cir.

2004); Miller v. Currie, 50 F.3d 373, 380 (6th Cir. 1995).

       Signed October 30, 2015.
